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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 0:23-cr-60179-SMITH

UNITED STATES OF AMERICA,
Vv.
JAMES JUDE SILVERSTONE,

Defendant.
/

PLEA AGREEMENT

The United States Attorney's Office for the Southern District of Florida
("this Office") and JAMES JUDE SILVERSTONE (hereinafter referred to as the
“defendant”) enter into the following agreement:

1. The defendant agrees to plead guilty to the Indictment which
charges that he did knowingly possess matter which contained any visual
depiction that had been shipped and transported using any means and facility
of interstate and foreign commerce, and in and affecting interstate and foreign
commerce, and which was produced using materials which have been so shipped
and transported, by any means, including by computer, and the production of
such visual depiction having involved the use of a minor engaged in sexually
explicit conduct, as defined in Title 18, United States Code, Section 2256(2), and
such visual depiction was of such conduct, in violation of Title 18, United States
Code, Sections 2252(a)(4)(B) and (b}(2). The defendant further agrees that
pursuant to Title 18, United States Code, Section 2252(b)(2), that such visual

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depiction involved a prepubescent minor or a minor who had not attained twelve
years of age.

2. The defendant is aware that the sentence will be imposed by the
court after consideration of the Federal Sentencing Guidelines and Policy
Statements (hereinafter “Sentencing Guidelines”). The defendant acknowledges
and understands that the court will compute an advisory sentence under the
Sentencing Guidelines and that the applicable guidelines will be determined by
the court relying in part on the results of a Pre-Sentence Investigation by the
Court’s probation office, which investigation will commence after the guilty plea
has been entered. The defendant is also aware that, under certain
circumstances, the court may depart from the advisory sentencing guideline
range that it has computed, and may raise or lower that advisory sentence under
the Sentencing Guidelines. The defendant is further aware and understands
that the court is required to consider the advisory guideline range determined
under the Sentencing Guidelines, but is not bound to impose that sentence; the
court is permitted to tailor the ultimate sentence in light of other statutory
concerns, and such sentence may be either more severe or less severe than the
Sentencing Guidelines’ advisory sentence. Knowing these facts, the defendant
understands and acknowledges that the court has the authority to impose any
sentence within and up to the statutory maximum authorized by law for the
offense identified in paragraph 1 and that the defendant may not withdraw his

plea solely as a result of the sentence imposed.
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3. The defendant understands and acknowledges that the Court may
impose a statutory maximum term of imprisonment of up to twenty (20) years;
a minimum term of five (5) years supervised release up to life; a fine of up to two
hundred fifty thousand dollars ($250,000.00); and an order of restitution.

4, The defendant further understands and acknowledges that,
pursuant to Title 18, United States Code, Section 3014, a special assessment in
the amount of $5,000 will be imposed on the defendant because, as the
defendant acknowledges and agrees, the defendant is not indigent and is
pleading guilty to an offense under Chapter 110 (relating to sexual exploitation
and other abuse of children), The defendant agrees that this special assessment
shall not be payable until the defendant has satisfied all outstanding court-
ordered fines, orders of restitution, and any other obligation related to victim-
compensation arising from the criminal conviction, upon which this special
assessment is based.

5. The defendant further understands and acknowledges that, in
addition to any sentence imposed under paragraph 3 of this agreement, a special
assessment in the amount of $100 will be imposed on the defendant for each
count to which he is pleading guilty. The defendant agrees that any special
assessment imposed shall be paid at the time of sentencing. If the defendant is
financially unable to pay the special assessment, the defendant agrees to present
evidence to this Office and the Court at the time of sentencing as to the reasons

for the defendant's failure to pay.

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6. This Office reserves the right to inform the court and the probation
office of all facts pertinent to the sentencing process, including all relevant
information concerning the offenses committed, whether charged or not, as well
as concerning the defendant and the defendant’s background. Subject only to
the express terms of any agreed-upon sentencing recommendations contained
in this agreement, this Office further reserves the right to make any
recommendation as to the quality and quantity of punishment.

7. This Office agrees that it will recommend at sentencing that the
Court reduce by two levels the sentencing guideline level applicable to the
defendant's offense, pursuant to Section 3E1.1(a) of the Sentencing Guidelines,
based upon the defendant’s recognition and affirmative and timely acceptance of
personal responsibility. If at the time of sentencing the defendant's offense level
is determined to be 16 or greater, the government will file a motion requesting
an additional one-level decrease pursuant to Section 3E1.1(b) of the Sentencing
Guidelines, stating that the defendant has assisted authorities in the
investigation or prosecution of his own misconduct by timely notifying
authorities of his intention to enter a plea of guilty, thereby permitting the
government to avoid preparing for trial and permitting the government and the
court to allocate their resources efficiently. The United States, however, will not
be required to make this motion or this recommendation if the defendant: (1)
fails or refuses to make a full, accurate and complete disclosure to the probation
office of the circumstances surrounding the relevant offense conduct; (2) is found

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to have misrepresented facts to the government prior to entering into this plea
agreement; or (3) commits any misconduct after entering into this plea
agreement, including but not limited to, committing a state or federal offense,
violating any term of release, or making false statements or misrepresentations
to any governmental entity or official.

8. The defendant is aware that the sentence has not yet been
determined by the Court. The defendant also is aware that any estimate of
the probable sentencing range or sentence that the defendant may receive,
whether that estimate comes from the defendant's attorney, the government, or
the probation office, is a prediction, not a promise, and is not binding on the
government, the probation office or the Court. The defendant understands
further that any recommendation that the government makes to the Court as to
sentencing, whether pursuant to this agreement or otherwise, is not binding on
the Court and the Court may disregard the recommendation in its entirety. The
defendant understands and acknowledges, as previously acknowledged in
paragraph 2 above, that the defendant may not withdraw his plea based upon
the Court's decision not to accept a sentencing recommendation made by the
defendant, the government, or a recommendation made jointly by both the
defendant and the government.

9, The defendant further agrees to forfeit to the United States
voluntarily and immediately all property subject to forfeiture pursuant to Title18,
United States Code, Sections 2253 (a}(1) and/or (a){2), which property, real or

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personal, was used or intended to be used by defendant to commit or to facilitate
the violation charged in Count 1 of the Indictment, or which property, real or
personal, constitutes or is derived from proceeds that defendant obtained,
directly or indirectly, from the violation of Count 1.

10. The defendant further agrees to waive presentation of the forfeiture
matter to a jury and agrees to waive any constitutional challenges to the
forfeiture, including any challenges under the Eighth Amendment of the United
States Constitution.

11. Defendant understands that by pleading guilty, he will be required
to register as a sex offender upon his release from prison as a condition of
supervised release pursuant to 18 U.S.C. § 3583{(d). Defendant also
understands that independent of supervised release, he will be subject to federal
and state sex offender registration requirements, and that those requirements
may apply throughout defendant's life. Defendant understands that he shall
keep his registration current, shall notify the state sex offender registration
agency or agencies of any changes to defendant's name, place of residence,
employment, or student status, or other relevant information. Defendant shall
comply with requirements to periodically verify in person defendant's sex
offender registration information. Defendant understands that he will be
subject to possible federal and state penalties for failure to comply with any such
sex offender registration requirements. If defendant resides in Florida following
release from prison, defendant will be subject to the registration requirements of

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Florida State Statute 943.0435. Defendant further understands that, under 18
U.S.C, § 4042(c), notice will be provided to certain law enforcement agencies
upon defendant's release from confinement following conviction.

12. Asacondition of supervised release, defendant shall initially register
with the state sex offender registration in the state of Florida, and shall also
register with the state sex offender registration agency in any state where
defendant resides, is employed, works, or is a student, as directed by the
Probation Officer. Defendant shall comply with all requirements of federal and
state sex offender registration laws, including the requirement to update
defendant's registration information. Defendant shall provide proof of
registration to the Probation Officer within 72 hours of release from
imprisonment.

13. This is the entire agreement and understanding between this Office
and the defendant. There are no other agreements, promises, representations,
or understandings.

RKENZY LAPOINTE

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ASSISTANT UNITED STATES ATTY

Date: 4/24) oH By Y yo
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Date: 4 :
| JAMES DUDE SILVERSTONE

DEFENDANT

